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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                          Crim. No. 18-CR-32-2 (DLF)
              v.
                                          FILED EX PARTE, UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



           GOVERNMENT’S MOTION FOR LEAVE TO FILE UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully moves for

leave of the Court to file two attached exhibits regarding its Second Supplemental Response to

Defendant Concord Management and Consulting’s Motion to Disclose Ex Parte Communications

Regarding the Government’s Intention to Seek a Superseding Indictment [Dkt. No. 235] under

seal. This exhibit consists of proposed redactions to a Minute Order of the Court and to a

government pleading that are both currently under seal.



                                     Respectfully submitted,


JOHN C. DEMERS                                            JESSIE K. LIU
Assistant Attorney General for National Security          United States Attorney

By: /s/                                                   By: /s/
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